Case 2:05-Cr-20066-BBD Document 20 Filed 05/31/05 Page 1 of 2 PagelD 23

/1

   

|N THE UN|TED STATES D|STRICT COURT H:,L-".D i-:r__ _` ,A__.___.”£J.C.

 

i=oR THE wEsTERN DisTRicT oF TENNEssEE
wEsTERN oi\/rsioN 05 nra 3 i' Pi-i 31 la
` 'Z‘wi/ _r y :_ _\ i`i'ciii‘;)
uNiTED sTATEs oF AMERicA i,ASTL§' a 'i.l§i§i§r§'s

P|aintiff

VS.
CR. NO. 05-20066-D

R|TA W|LL|AMSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a r_eMt
date of Thursdav. June 30. 2005, at 9:00 a.m., in Courtroom 3, 9th Floor ofthe Federal
Bui|ding, |V|emphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

iT is so oRDERED this 54 day of iviay, 2005.

/1‘-/7}
N|CE B. DO ALD
UN|TED STATES DISTRICT JUDGE

ring ;-;@_~.; --nsn't entered on the docket sheet in run ipiian;»‘)

.!-.'i‘.i`i :'::Li|€ uf fir:.lj'O!' 32(0) FHC|'P On _d__€ al _"A/`lc$; ' §§

 

thice of Distributicn

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20066 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

